Case 1:06-cv-00291-GLS-DRH            Document 26       Filed 01/18/07      Page 1 of 35




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________

ROBERT SELEVAN and ANNE
RUBIN,1

                              Plaintiffs,                           1:06-CV-291
                                                                    (GLS\DRH)
                      v.

NEW YORK THRUWAY AUTHORITY
and JOHN L. BUONO,2

                  Defendants.
_________________________________

APPEARANCES:                                         OF COUNSEL:

FOR THE PLAINTIFFS:

LOCKS LAW FIRM, PLLC                                 ANDREW P. BELL, ESQ.
110 East 55th Street
New York, New York 10022

FOR THE DEFENDANTS:

HON. ANDREW CUOMO                                    NELSON SHEINGOLD
New York State Attorney General                      Assistant Attorney General
The Capitol
Albany, New York 12224



        1
         Selevan and Rubin bring this lawsuit individually and on behalf of all others similarly
 situated. See Am. Compl. ¶1, Dkt. No. 20.
        2
        Defendant Buono is Chairman and Chief Executive Officer of the New York State
 Thruway Authority. See id. ¶10. He is sued both individually and in his official capacities. See
 id.
Case 1:06-cv-00291-GLS-DRH   Document 26      Filed 01/18/07   Page 2 of 35




Gary L. Sharpe
U.S. District Judge

                MEMORANDUM-DECISION AND ORDER

                              I. Introduction

      Plaintiffs allege, pursuant to 42 U.S.C. § 1983, that defendants

violated their constitutional rights by implementing and enforcing

discriminatory toll practices on Grand Island Bridge in Grand Island, New

York. Pending under Federal Rule of Civil Procedure 12(b)(6) is

defendants’ motion to dismiss. See Dkt. Nos. 6, 21. For the reasons that

follow, defendants’ motion is granted.

                                  II. Facts

      Robert Selevan resides in Nassau County, New York. See Am.

Compl. ¶5, Dkt. No. 20. Anne Rubin is a United States citizen residing in

Ontario, Canada. See id. ¶6. Both Selevan and Rubin have used the

Grand Island Bridge and paid tolls there during the period relevant to this

lawsuit. See id. ¶¶5-6.

      The Grand Island Bridge is owned and operated by defendant, New

York Thruway Authority (NYTA). See id. ¶¶13-14. During the period

relevant to this lawsuit, the NYTA implemented and maintained a new toll


                                      2
Case 1:06-cv-00291-GLS-DRH          Document 26       Filed 01/18/07     Page 3 of 35




policy on Grand Island Bridge. See Am. Compl. ¶12, Dkt. No. 20.

According to that policy, motorists who show proof of Grand Island

residency are afforded a discounted toll rate.3 See Am. Compl. ¶12, Dkt.

No. 20. The normal toll on Grand Island Bridge is $0.75, but residents of

Grand Island have been afforded a discount off their toll price of up to

$0.66.4 See id. ¶21. Consequently, Selevan and Rubin, motorists who are

non-residents of Grand Island, pay higher tolls prices than Grand Island

residents when they traverse the bridge. See id. ¶23.

                                III. Procedural History

       On March 7, 2006, plaintiffs filed their original complaint in this court

pursuant to 42 U.S.C. § 1983. See Dkt. No. 1. On May 4, defendants

moved to dismiss the complaint. See Dkt. No. 6. At an oral hearing held

on August 3, the court granted plaintiffs additional time to amend their

complaint. See Dkt. No. 18. Plaintiffs filed an amended complaint on

September 5, and defendants renewed their motion to dismiss on

September 26. See Dkt. Nos. 20, 21. The motion is now fully briefed. See



        3
          Motorists can prove their residency on Grand Island by presenting the NYTA with a
 vehicle registration or other residency-type document. See Am. Compl. ¶22, Dkt. No. 20.
        4
          The toll rates are set out in detail at the NYTA website:
 http://www.thruway.state.ny.us/ezpass/discount.html#grandres. See id. ¶21.

                                              3
Case 1:06-cv-00291-GLS-DRH    Document 26    Filed 01/18/07   Page 4 of 35




Dkt. Nos. 21, 24, 25.

                               IV. Discussion

A.    Motion to Dismiss Standard

      Rule 12(b)(6) provides that a cause of action shall be dismissed if a

complaint fails “to state a claim upon which relief can be granted.” FED. R.

CIV. P. 12(b)(6). In other words, the court should dismiss the complaint

pursuant to Rule 12(b)(6) if “it appears beyond doubt that the plaintiff can

prove no set of facts in support of the complaint which would entitle him to

relief.” Twombly v. Bell Atl. Corp., 425 F.3d 99, 106 (2d Cir. 2005) (internal

quotation marks and citation omitted). “A court’s task in ruling on a Rule

12(b)(6) motion is merely to assess the legal feasibility of the complaint, not

to assay the weight of the evidence which might be offered in support

thereof.” AmBase Corp. v. City Investing Co. Liquidating Trust, 326 F.3d

63, 72 (2d Cir. 2003) (internal quotation marks and citation omitted).

Therefore, in reviewing a motion to dismiss, a court “must accept the facts

alleged in the complaint as true and construe all reasonable inferences in

[the plaintiff’s] favor.” Fowlkes v. Adamec, 432 F.3d 90, 95 (2d Cir. 2005)

(citation omitted).




                                      4
Case 1:06-cv-00291-GLS-DRH          Document 26       Filed 01/18/07     Page 5 of 35




B.     Standing5

       Defendants argue that plaintiffs lack standing to pursue their

constitutional claims. In every federal case, the party seeking to invoke

federal jurisdiction must establish standing to prosecute the action. See

Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992); see also Denney

v. Deutsche Bank AG, 443 F.3d 253, 263 (2d Cir. 2006) (The “threshold

question in every federal case [is] determining the power of the court to

entertain the suit.”); Ctr. for Reprod. Law v. Bush, 304 F.3d 183, 191 (2d

Cir. 2002) (“A federal court has jurisdiction only if a claim presents a ‘case’

or ‘controversy’ under Article III of the U.S. Constitution.”).

       “In essence[,] the question of standing is whether the litigant is

entitled to have the court decide the merits of the dispute or of particular

issues.” Elk Grove Unified Sch. Dist. v. Newdow, 542 U.S. 1, 11 (2004)

(internal quotation marks and citation omitted). “Standing generally has

two aspects: constitutional standing, a mandate of the ‘case or controversy’

requirement in Article III, and prudential considerations of standing, which

involve ‘judicially self-imposed limits on the exercise of federal jurisdiction.’”

        5
         The Second Circuit recently stated, “[w]e do not require that each member of a class
 submit evidence of personal standing.” Denney v. Deutsche Bank AG, 443 F.3d 253, 263 (2d
 Cir. 2006). However, “[t]he class must...be defined in such a way that anyone within it would
 have standing.” Id. at 264.

                                               5
Case 1:06-cv-00291-GLS-DRH     Document 26    Filed 01/18/07   Page 6 of 35




Lerner v. Fleet Bank, N.A., 318 F.3d 113, 126 (2d Cir. 2003) (internal

quotation marks and citation omitted). “It is clear that constitutional

standing is a jurisdictional prerequisite to suit, [and] prudential

considerations of standing are also generally treated as jurisdictional in

nature.” Lerner, 318 F.3d at 126-127; see also Leibovitz v. New York City

Transit Auth., 252 F.3d 179, 184 (2d Cir. 2001) (“Prudential and

constitutional rules of standing are alike ‘threshold determinants of the

propriety of judicial intervention.’”) (quoting Warth v. Seldin, 422 U.S. 490,

498 (1975)). Thus, the Court is obligated to determine whether plaintiffs

have standing under Article III and whether, if such standing exists, any

prudential considerations limit the Court’s jurisdiction to reach the merits of

their claims.

      1.    Article III Standing

      The Supreme Court has articulated the constitutional requirements

imposed by Article III as “irreducible constitutional minim[a].” Bennett v.

Spear, 520 U.S. 154, 167 (1997) (citing Lujan, 504 U.S. at 560). In

analyzing a plaintiff’s standing, the central issue is “whether the plaintiff

has alleged such a personal stake in the outcome of the controversy as to

warrant his invocation of federal-court jurisdiction and to justify exercise of

                                        6
Case 1:06-cv-00291-GLS-DRH    Document 26    Filed 01/18/07   Page 7 of 35




the court’s remedial powers on his behalf.” U.S. v. Vazquez, 145 F.3d 74,

81 (2d Cir. 1998) (internal quotation marks and citation omitted).

Therefore, a plaintiff’s standing must be resolved “irrespective of the merits

of [the] substantive claims [alleged].” Bordell v. Gen. Elec. Co., 922 F.2d

1057, 1060 (2d Cir. 1991).

      “Article III of the United States Constitution confines federal courts to

adjudicating actual ‘cases’ and ‘controversies.’” Allen v. Wright, 468 U.S.

737, 750 (1984). A plaintiff asserting standing must demonstrate “a

sufficient stake in an otherwise justiciable controversy to obtain judicial

resolution of that controversy.” Sierra Club v. Morton, 405 U.S. 727, 731

(1972).

      In particular, plaintiffs must “satisfy three elements to come within the

judicial power of the federal courts.” L.A.M. Recovery, Inc. v. Dep’t of

Consumer Affairs, 377 F. Supp. 2d 429, 437 (S.D.N.Y. 2005). “First and

foremost, there must be alleged (and ultimately proved) an injury in fact - a

harm suffered by the plaintiff that is concrete and actual or imminent, not

conjectural or hypothetical.” Steel Co. v. Citizens for a Better Env’t, 523

U.S. 83, 103 (1998) (internal quotation marks and citation omitted).

“Second, there must be causation - a fairly traceable connection between

                                       7
Case 1:06-cv-00291-GLS-DRH     Document 26    Filed 01/18/07   Page 8 of 35




the plaintiff’s injury and the complained-of conduct of the defendant.” Id.;

see also Lujan, 504 U.S. at 560-61. “[T]hird, there must be redressability -

a likelihood that the requested relief will redress the alleged injury.” Id.;

see also Denney, 443 F.3d at 263 (citing Lujan, 504 U.S. at 561).

      “[E]ach element of Article III standing ‘must be supported in the same

way as any other matter on which the plaintiff bears the burden of proof,

i.e., with the manner and degree of evidence required at the successive

stages of the litigation.’” Bennett, 520 U.S. at 167-168 (citing Lujan, 504

U.S. at 561). “Thus, while a plaintiff must set forth by affidavit or other

evidence specific facts to survive a motion for summary judgment...and

must ultimately support any contested facts with evidence adduced at trial,

at the pleading stage, general factual allegations of injury resulting from the

defendant[s’] conduct may suffice[.]” Id. at 168 (internal quotation marks

and citation omitted). “[F]or on a motion to dismiss[,] [the court must]

presume that general allegations embrace those specific facts that are

necessary to support the claim.” Id. (internal quotation marks and citation

omitted).

      2.    Prudential Standing

      Even if plaintiffs have Article III standing, prudential considerations

                                        8
Case 1:06-cv-00291-GLS-DRH     Document 26    Filed 01/18/07   Page 9 of 35




may limit their ability to invoke federal jurisdiction. See Lamont v. Woods,

948 F.2d 825, 829 (2d Cir. 1991) (“If [the Article III] constitutional minima

are satisfied, a court may nevertheless deny standing for prudential

reasons[.]”). Prudential standing “embodies judicially self-imposed limits

on the exercise of federal jurisdiction.” Elk Grove Unified Sch. Dist., 542

U.S. at 11 (internal quotation marks and citation omitted).

      The Supreme Court has said that “[e]ven in cases concededly within

[the court’s] jurisdiction under Article III, [the court should] abide by a series

of rules under which [it has] avoided passing upon a large part of all the

constitutional questions pressed upon [it] for decision.” Id. (internal

quotation marks and citation omitted). The court “must balance the heavy

obligation to exercise jurisdiction, Colorado River Water Conservation Dist.

v. U.S., 424 U.S. 800, 820 (1976), against the ‘deeply rooted’ commitment

‘not to pass on questions of constitutionality’ unless adjudication of the

constitutional issue is necessary, Spector Motor Service, Inc. v.

McLaughlin, 323 U.S. 101, 105 (1944).” Id. Consistent with these

principles, standing jurisdprudence contains two strands, Article III standing

and its counterpart, prudential standing. See id.

      Prudential considerations include “the general prohibition on a

                                        9
Case 1:06-cv-00291-GLS-DRH     Document 26    Filed 01/18/07   Page 10 of 35




 litigant’s raising another person’s legal rights, the rule barring adjudication

 of generalized grievances more appropriately addressed in the

 representative branches, and the requirement that a plaintiff’s complaint fall

 within the zone of interests protected by the law invoked.” Allen, 468 U.S.

 at 751. To satisfy the “zone of interests” requirement, a plaintiff must show

 that “the interest sought to be protected by the complainant is arguably

 within the zone of interests to be protected or regulated by the statute or

 constitutional guarantee in question[.]” Ass’n of Data Processing Serv.

 Organizations, Inc. v. Camp, 397 U.S. 150, 153 (1970).

       “Finally, a related aspect of standing, statutory standing, is broadly

 described as a part of the prudential considerations regarding the proper

 limits of jurisdiction.” Lerner, 318 F.3d at 126. “Where the injury stems

 from the violation of statutorily-created rights, the issue for prudential

 standing is ‘whether the...statutory provision on which the claim rests

 properly can be understood as granting persons in the plaintiff’s position a

 right to judicial relief.’” Vazquez v. Salomon Smith Barney Inc., 01-CV-

 2895, 2002 U.S. Dist. LEXIS 46, at *11 (S.D.N.Y. Jan. 4, 2002) (citing

 Warth, 422 U.S. at 500). “Without such limitations...the courts would be

 called upon to decide abstract questions of wide public significance even

                                        10
Case 1:06-cv-00291-GLS-DRH     Document 26    Filed 01/18/07   Page 11 of 35




 though other governmental institutions may be more competent to address

 the questions and even though judicial intervention may be unnecessary to

 protect individual rights.” Elk Grove Unified Sch. Dist., 542 U.S. at 11

 (internal quotation marks and citation omitted).

       As stated, to have standing, plaintiffs must satisfy both the Article III

 requirements and the prudential requirements for each claim asserted.

 See Lerman v. Bd. of Elections in City of New York, 232 F.3d 135, 143 (2d

 Cir. 2000) (citing Sec’y of State of Md. v. Joseph H. Munson Co., 467 U.S.

 947, 955 (1984) (“In addition to the limitations on standing imposed by Art.

 III’s case-or-controversy requirement, there are prudential considerations

 that limit the challenges courts are willing to hear.”)); Valley Forge Christian

 Coll. v. Americans United for Separation of Church and State, 454 U.S.

 464, 471 (1982) (“The term ‘standing’ subsumes a blend of constitutional

 requirements and prudential considerations[.]”); Singleton v. Wulff, 428

 U.S. 106, 112 (1976) (holding that constitutional requirements under Article

 III and prudential requirement that plaintiffs be the “proper proponents of

 the particular legal rights on which they base their suits” are distinct

 aspects of standing inquiry). As such, the court now turns to the

 applicability of these principles to each of plaintiffs’ asserted claims.

                                        11
Case 1:06-cv-00291-GLS-DRH      Document 26    Filed 01/18/07   Page 12 of 35




             a.     Commerce Clause Claim

       Defendants argue that plaintiffs lack standing to pursue their

 commerce clause claim for three reasons. First, defendants claim that the

 alleged harm is insufficient to constitute cognizable injury-in-fact under the

 confines of the United States Constitution. More specifically, defendants

 maintain that plaintiffs have asserted nothing more than generalized

 grievances and thus have failed to satisfy the injury-in-fact requirements

 under both strands of the standing analysis. Second, defendants maintain

 that plaintiffs cannot satisfy the third prong of Article III standing,

 redressability, because the injunctive relief sought will not benefit plaintiffs

 but will instead harm Grand Island residents who will be forced to pay

 higher tolls. Finally, defendants maintain that plaintiffs’ commerce clause

 claim does not fall within the “zone of interests” protected by the

 Commerce Clause. In response, plaintiffs argue that their alleged injury,

 namely, the inability to benefit from the reduced toll rates enjoyed by Grand

 Island residents coupled with the pecuniary burden of paying the higher

 non-residential toll rate, is concrete, particularized, and capable of being

 redressed by the relief sought.

       The court will first address defendants’ concerns regarding injury-in-

                                         12
Case 1:06-cv-00291-GLS-DRH        Document 26   Filed 01/18/07   Page 13 of 35




 fact and redressability. As stated, “[t]o qualify as a constitutionally

 sufficient injury-in-fact, the asserted injury must be concrete and

 particularized as well as actual or imminent, not ‘conjectural’ or

 ‘hypothetical.’” Baur v. Veneman, 352 F.3d 625, 632 (2d Cir. 2003) (citing

 Lujan, 504 U.S. at 560). “Because the standing inquiry focuses on whether

 the plaintiff is the proper party to bring...suit, the injury analysis often turns

 on the nature and source of the claim asserted.” Id. (citing Raines v. Byrd,

 521 U.S. 811, 818 (1997)). The court must assess “whether the injury

 affects the plaintiff in a personal and individual way[.]” Id. In addition,

 plaintiffs’ “injury must be actual or imminent to ensure that the court avoids

 deciding a purely hypothetical case in which the projected harm may

 ultimately fail to occur.” Id.

      The nature of plaintiffs’ claim is that the Grand Island toll policy

imposes a discriminatory commercial barrier on interstate commerce in

violation of the Commerce Clause. Plaintiffs define their injury as the

burden of paying higher toll rates than Grand Island residents and the

denial of toll discounts based on their residency status. This injury is a

commercial, economic injury that is concrete and specific to them. It is also

a current, ongoing harm. While it is true that generalized grievances

                                         13
Case 1:06-cv-00291-GLS-DRH           Document 26       Filed 01/18/07      Page 14 of 35




against a policy violating the Commerce Clause are insufficient to confer

Article III standing, see Mariana v. Fisher, 338 F.3d 189, 206 (3d Cir.

2003),6 the Supreme Court has explained that “[c]onsumers who suffer

[higher costs] from regulation forbidden under the Commerce Clause satisfy

the standing requirements of Article III,” GMC v. Tracy, 519 U.S. 278, 286

(1997).7 “It is well established that consumers injured by impermissible

regulations satisfy Article III’s standing requirements.” Harvey v. Veneman,

396 F.3d 28, 34 (1st Cir. 2005). Accordingly, plaintiffs have satisfied the

first prong of the court’s standing analysis, injury-in-fact.8


        6
          The Mariana plaintiffs, cigarette smokers, sued Pennsylvania’s Attorney General and
 Secretary of Revenue seeking injunctive relief from the implementation and enforcement of the
 national tobacco settlement known as the Master Settlement Agreement (MSA). The Third
 Circuit dismissed plaintiffs’ claims on jurisdictional grounds rather than on the merits after
 finding that the smokers lacked standing because they stated generalized grievances and
 conjectural injury allegations. See Mariana, 338 F.3d 189, 205-206 (3d Cir. 2003).
         The Third Circuit explained, “[b]ecause Plaintiffs are not asserting their own legal
 interests but instead those of third parties[,]...[their] Commerce Clause arguments devolve into
 nothing more than generalized grievances[.]...Accordingly, the doctrine of prudential standing
 precludes us from hearing such claims.” Id. at 206.
        7
          The GMC court explained, that “cognizable injury from unconstitutional discrimination
 against interstate commerce does not stop at members of the class against whom a State
 ultimately discriminates, and customers of that class may also be injured[.]” GMC v. Tracey,
 519 U.S. 278, 286 (1997) (emphasis added).
         Defendants correctly point out that the defendants in GMC ultimately prevailed. On the
 merits, the GMC Court held that Ohio’s differential tax treatment between sales of gas by
 domestic utilities subject to regulation and sales of gas by other entities did not violate the
 Commerce Clause or Equal Protection Clause since Ohio was acting as a market participant.
 See id. at 301. Here, before the court can reach the merits of plaintiffs claims, it must decide
 whether plaintiffs have standing.
        8
           Defendants also cite DaimlerChrysler Corp. v. Cuno in support of its contention that
 plaintiffs’ alleged injury is not “concrete and particularized.” See DaimlerChrysler Corp. v.

                                               14
Case 1:06-cv-00291-GLS-DRH           Document 26       Filed 01/18/07      Page 15 of 35




      Defendants argue that the relief plaintiffs seek would not redress their

alleged injury, or, at the very least, would be too speculative to satisfy the

third standing requirement. Plaintiffs seek injunctive relief, restitution, and

money damages. In particular, plaintiffs seek an order leveling the toll

prices on Grand Island Bridge. This relief, if granted, would cure the

alleged discrimination by putting plaintiffs on equal footing with Grand

Island residents. Accordingly, plaintiffs have satisfied the third prong of

Article III standing, redressability.

      The court next considers defendants’ final argument, which turns on a

consideration of prudential standing. Defendants argue that plaintiffs’ claim

does not fall within the “zone of interests” that the Commerce Clause was

designed to protect. An examination of the Commerce Clause and its

intended purpose is useful in determining whether plaintiffs’ interests fall



 Cuno, 126 S. Ct. 1854, 1862 (2006). The DaimlerChrysler plaintiffs were local and city
 taxpayers who sued alleging that tax breaks for defendant car manufacturer violated the
 Commerce Clause. See id. at 1859. Under a contract with a city, the manufacturer agreed to
 expand its local assembly plant in exchange for the city agreeing to give it a tax break. See id.
 The State also allowed the manufacturer a credit against the state franchise tax. See id.
 Plaintiffs claimed that they were injured because the tax breaks for the manufacturer
 diminished the funds available to the city and State, imposing a disproportionate burden on
 them. See DaimlerChrysler Corp., 126 S. Ct. at 1862. The Court held that it was unclear
 whether the tax breaks did in fact deplete the treasury and that the taxpayers’ alleged injury
 was conjectural or hypothetical because it was dependent on legislators’ responses. See id.
 DaimlerChrysler is factually distinguishable because the DaimlerChrysler plaintiffs alleged a
 theoretical injury which could not be proven, whereas the plaintiffs here allege actual economic
 harm.

                                               15
Case 1:06-cv-00291-GLS-DRH    Document 26    Filed 01/18/07   Page 16 of 35




within the relevant zone of interests to be protected. See Nat’l Solid Waste

Mgmt. Ass’n v. Pine Belt Reg’l Solid Waste Mgmt. Auth., 389 F.3d 491, 499

(5th Cir. 2004).

      The Commerce Clause of the United States Constitution grants

Congress the authority to “regulate Commerce...among the several States.”

U.S. CONST. art. I, § 8, cl. 3. The Supreme Court has long held that the

clause contains both an affirmative grant of power and a “further, negative

command, known as the dormant Commerce Clause...that prevents a State

from...placing burdens on the flow of commerce across its borders that

commerce wholly within those borders would not bear.” Am. Trucking

Associations, Inc. v. Mich. Public Serv. Comm’n, 545 U.S. 429, 433 (2005)

(internal quotation marks and citations omitted).

      Moreover, “the Commerce Clause was not only designed to protect

the states, but was also ‘intended to benefit those [individuals] who...are

engaged in interstate commerce.’” Oxford Associates v. Waste Sys. Auth.

Of E. Montgomery County, 271 F.3d 140, 146 (3d Cir. 2001) (quoting

Dennis v. Higgins, 498 U.S. 439, 448-49 (1991)). The Supreme Court has

explained that “every consumer may look to the free competition from every

producing area in the Nation to protect him from exploitation by any.” Id.

                                      16
Case 1:06-cv-00291-GLS-DRH    Document 26    Filed 01/18/07   Page 17 of 35




(quoting H.P. Hood & Sons, Inc. v. DuMond, 336 U.S. 525, 539 (1949)).

      Here, plaintiffs challenge defendants’ toll policy under the so-called

dormant Commerce Clause. A State law or policy violates the dormant

Commerce Clause if it “clearly discriminates against interstate commerce in

favor of intrastate commerce,” or “if it imposes a burden on interstate

commerce incommensurate with the local benefits secured.” Grand River

Enters. Six Nations, Ltd. v. Pryor, 425 F.3d 158, 168 (2d Cir. 2005). A

policy will also be invalid under the dormant Commerce Clause “if it has the

practical effect of extraterritorial control of commerce occurring entirely

outside the boundaries of the state in question.” Id. Thus, the issue is

whether plaintiffs have standing to challenge defendants’ actions as either

discriminatory against out-of-state economic interests or excessively

burdensome on interstate commerce. See United Haulers Ass’n, Inc. v.

Oneida-Herkimer Solid Waste Mgmt. Auth., 261 F.3d 245, 255 (2d Cir.

2001).

      The principles governing the dormant Commerce Clause preserve the

struggle “to develop a set of rules by which [courts] may preserve a national

market without needlessly intruding upon the States’ police powers, each of

which no doubt has some effect on the commerce of the Nation.” United

                                       17
Case 1:06-cv-00291-GLS-DRH            Document 26        Filed 01/18/07      Page 18 of 35




Haulers Assoc., Inc., 261 F.3d at 254 (internal quotation marks and citation

omitted). In other words, the dormant Commerce Clause was designed to

“prevent economic protectionism and retaliation between states and to

allow markets to flourish across state borders, thus prohibiting ‘laws that

would excite...jealousies and retaliatory measures between states.’” Ben

Oehrleins & Sons & Daughter, Inc. v. Hennepin County, 115 F.3d 1372,

1382 (8th Cir. 1997) (quoting C & A Carbone, Inc. v. Town of Clarkstown,

511 U.S. 383, 390 (1994)).

      “Discrimination under the dormant Commerce Clause simply means

differential treatment of in-state and out-of-state economic interests that

benefits the former and burdens the latter.” Allocco Recycling, Ltd. v.

Doherty, 378 F. Supp. 2d 348, 358 (S.D.N.Y. 2005) (internal quotation

marks and citation omitted). Therefore, “the relevant zone of interests

is...protection of out-of-state economic interests.” Id.; see also Nat’l Solid

Waste Mgmt. Ass’n, 389 F.3d at 500.9 Plaintiffs must therefore show that

        9
          In National Solid Waste Management Association, plaintiffs collected, processed and
 disposed of solid waste to transfer stations and landfills that they or their affiliates operated.
 See Nat’l Solid Waste Mgmt. Ass’n v. Pine Belt Reg’l Solid Waste Mgmt. Auth., 389 F.3d 491,
 495 (5th Cir. 2004). All of the waste originated within the State, and none was shipped out of
 the State. See id. The Fifth Circuit held that the plaintiffs lacked judicial standing to challenge
 flow-control ordinances because plaintiffs did not ship any waste in or out of state and did not
 allege that they had any plans to do so. See id. The court explained that plaintiffs lacked
 standing because their alleged injury was “not related to any out-of-state characteristic of their
 business.” Id. at 500.

                                                18
Case 1:06-cv-00291-GLS-DRH     Document 26   Filed 01/18/07   Page 19 of 35




they have been harmed “precisely because [the policy] burdened interstate

commerce.” L.A.M. Recovery, Inc., 377 F. Supp. 2d at 439.

         For purposes of their Commerce Clause claim, Selevan and Rubin

define the relevant market as the “market of access to Grand Island.”

However, they fail to allege any in-state market competitor that is favored to

the detriment of comparable out-of-state market providers. Moreover,

although plaintiffs allege in conclusory fashion that while traversing Grand

Island Bridge they are engaged in a form of interstate commerce, namely,

shopping and tourism, the alleged harm is strictly local. Plaintiffs have not

alleged that they are part of an interstate market or that their market has

been jeopardized in favor of local interests. In fact, plaintiffs have not even

alleged that the questioned portion of Grand Island Bridge serves as an

access route from one State to another. As far as the court can tell, the

questioned portion serves only New York State and treats both New York

non-Grand Island residents and out-of-State non-Grand Island residents

alike.

         “The Commerce Clause does not, of course, invalidate all State

policies restricting commerce.” See Kassel v. Consol. Freightways Corp. of

Del., 450 U.S. 662, 669-70 (1981). Indeed, “there is a residuum of power in

                                       19
Case 1:06-cv-00291-GLS-DRH    Document 26    Filed 01/18/07   Page 20 of 35




the state to make laws governing matters of local concern which

nevertheless in some measure affect interstate commerce or even, to some

extent, regulate it.” Id. at 669 (internal quotation marks and citation

omitted). The Seventh Circuit in Endsley v. City of Chicago held that even if

a thruway authority monopolized an access route, setting tolls fell within the

ambit of legitimate market behavior and posed no serious threat to

interstate commerce. See Endsley v. City of Chicago, 230 F.3d 276, 283-

85 (7th Cir. 2000).

      Plaintiffs bear the burden of proving that the Grand Island toll policy is

either facially discriminatory or imposes a burden on interstate commerce

incommensurate with the local benefits secured. See Grand River Enters.

Six Nations, Ltd., 425 F.3d at 168. “There is no general rule that once

something (either passenger or freight) embarks on a journey that will

eventually carry it between two states, every moment of that journey,

through the last conceivable moment of travel, is necessarily interstate...”

commerce, as envisioned by the Commerce Clause analysis. Packard v.

Pittsburgh Transp. Co., 418 F.3d 246, 255 (3d Cir. 2005). The United

States Supreme Court has recently upheld a fee taxing purely local activity

that does not affect entry into the State or transactions spanning multiple

                                       20
Case 1:06-cv-00291-GLS-DRH     Document 26    Filed 01/18/07   Page 21 of 35




States under the dormant Commerce Clause. See Am. Trucking

Associations, 545 U.S. at 437. Here, plaintiffs do not suggest that the

Grand Island Bridge is the only means of access into the State of New York,

nor do they allege that their ineligibility for the Grand Island resident

discount discourages or hinders interstate commerce. The true gravamen

of plaintiffs’ complaint is that the Grand Island toll policy discriminates

against New York citizens traversing a bridge within the State. Construing

the facts in the light most favorable to the plaintiffs, any alleged burden on

interstate commerce here is merely negligible.

      Plaintiffs have not convinced the court that their use of Grand Island

Bridge, and therefore the Grand Island toll policy, is more than marginally

within the zone of interests protected by the Commerce Clause. A review of

the amended complaint shows that the alleged harm is strictly local, not in

any way demonstrative of “economic protectionism,” and unlikely to lead to

“jealousies and retaliatory measures between states.” Ben Oehrleins &

Sons & Daughter, Inc., 115 F.3d at 1382 (internal quotation marks and

citation omitted). These concerns, the hallmarks of the dormant

Commerce Clause, are not claimed to be at issue here. Plaintiffs cannot

and do not identify any in-state commercial interest that is favored, directly

                                       21
Case 1:06-cv-00291-GLS-DRH          Document 26       Filed 01/18/07     Page 22 of 35




or indirectly, by the challenged toll policy at the expense of out-of-state

competing interests. Because their alleged injuries have little relation to

out-of-State economic interests and do not fall within the zone of interests

protected by the Commerce Clause, plaintiffs lack prudential standing.

Accordingly, their Commerce Clause claim is dismissed.

               b.    Privileges and Immunities Clause Claim10 (“P & I
                     Clause”)

      Defendants argue that as a resident of New York, Selevan lacks

Article III standing to sue defendants under the P & I Clause. See Schulz v.

N.Y.S. Executive, 960 F. Supp. 568, 576 (N.D.N.Y. 1997), aff’d, 162 F.3d

1148 (2d Cir. 1998). In addition, they argue that because the P & I Clause

does not extend to residents of foreign countries, as a resident of Canada,

Rubin lacks standing to pursue her P & I claim. See United Bldg. & Constr.

Trades Council of Camden County & Vicinity v. Camden, 465 U.S. 208, 216

(1984).

      Article IV, § 2, cl. 1, of the United States Constitution provides that

“[t]he Citizens of each State shall be entitled to all Privileges and Immunities

of Citizens in the several States.” U.S. CONST. art. IV, § 2, cl. 1. “The


          10
         The court has interpreted plaintiffs’ Privileges and Immunities Clause claim as one
 brought pursuant to Article IV of the United States Constitution.

                                              22
Case 1:06-cv-00291-GLS-DRH    Document 26    Filed 01/18/07   Page 23 of 35




provision was designed to place the citizens of each State upon the same

footing with citizens of other States, so far as the advantages resulting from

citizenship in those States are concerned.” Schulz, 960 F. Supp. at 576

(internal quotation marks and citation omitted). Furthermore,

      [t]he “privileges and immunities” secured by the original constitution,
      were only such as each state gave to its own citizens. Each was
      prohibited from discriminating in favor of its own citizens, and against
      the citizens of other states.

      But the fourteenth amendment prohibits any state from abridging the
      privileges or immunities of the citizens of the United States, whether
      its own citizens or any others. It not merely requires equality of
      privileges; but it demands that the privileges and immunities of all
      citizens shall be absolutely unabridged, unimpaired.

Schulz, 960 F. Supp. at 577 (citation omitted). “[T]he Privileges and

Immunities Clause was intended to create a national economic union.” Id.

      “However, the Privileges and Immunities Clause does not infuse

citizens with new and independent rights.” Id. It “establishes a norm of

comity without specifying the particular subjects as to which citizens of one

State coming within the jurisdiction of another are guaranteed equality of

treatment.” Id. (citing Austin v. N.H., 420 U.S. 656, 660 (1975)). Indeed,

“the protection designed by [the Privileges and Immunities] clause...has no




                                      23
Case 1:06-cv-00291-GLS-DRH            Document 26        Filed 01/18/07       Page 24 of 35




application to a citizen of the State whose laws are complained of.”11 Id.

(citing Bradwell v. State of Illinois, 83 U.S. 130, 138 (1872)). “More

recently, in Zobel v. Williams, the Supreme Court rejected a challenge to

Alaska’s dividend scheme, which provided for proportional payments based

on length of residency within the state[.]” Schulz, 960 F. Supp. at 577. The

Zobel court held:

      The statute does not involve the kind of discrimination which the
      Privileges and Immunities Clause of Art. IV was designed to prevent.
      That Clause was designed to insure to a citizen of State A who
      ventures into State B the same privileges which the citizens of State B
      enjoy. The Clause is thus not applicable to this case....When a state
      distributes benefits unequally, the distinctions it makes are subject to
      scrutiny under the Equal Protection Clause of the Fourteenth
      Amendment.

Id. (citing Zobel v. Williams, 457 U.S. 55, 59 (1982)).

      The Supreme Court has articulated policy reasons for denying

standing to in-state citizens attacking their own State’s policies under the P

& I clause. In observing that a Camden, New Jersey ordinance has an

identical impact on in-State citizens residing outside of Camden and out-of-



        11
           “This does not mean that a state has unlimited power to abridge the privileges of its
 own citizens.” Schultz, 970 F. Supp. at 577 (citing Colgate v. Harvey, 296 U.S. 404, 428-29
 (1935)). Instead, courts “must look elsewhere than to the language of the privileges and
 immunities clause of the Fourth Article of the Constitution for the constitutional infirmity of the
 [policy or regulation][.]” Id. (citing Colgate, 296 U.S. at 428-29).


                                                 24
Case 1:06-cv-00291-GLS-DRH           Document 26        Filed 01/18/07     Page 25 of 35




State citizens, the Supreme Court explained that “New Jersey residents at

least have a chance to remedy at the polls any discrimination against them.

Out-of-State citizens have no similar opportunity, [and]...the disadvantaged

New jersey residents have no claim under the Privileges and Immunities

Clause.” United Bldg. & Constr. Trades Council, 465 U.S. at 217 (citation

omitted).

                      i.     Selevan

      The binding precedent clearly provides that a resident of a State may

not sue his own State under the P & I Clause. Selevan is a resident of New

York, and he seeks to sue an arm of the state, the New York Thruway

Authority, under the P & I Clause. Accordingly, he lacks standing, and his

claim against defendants premised on violations of the Privileges and

Immunities Clause is dismissed.12

                      ii.    Rubin

      Defendants argue that “under the plain language of the Privileges and

Immunities Clause, it is not remotely tenable to claim that protections of this


        12
            Plaintiffs concede that Selevan does not have standing to assert a claim under the P
 & I clause of Article IV. However, they do contend that Selevan has standing to assert a claim
 under the 14th Amendment’s P & I Clause, from where the “right to travel” has been spawned.
 Plaintiffs’ Equal Protection claim is premised on violations of their fundamental right to travel,
 which has been deduced from the P & I Clause of the 14th Amendment. The court will discuss
 plaintiffs’ Equal Protection claim in more detail below.

                                               25
Case 1:06-cv-00291-GLS-DRH    Document 26    Filed 01/18/07   Page 26 of 35




clause extend to residents of foreign countries.” Def. Reply Mem., Dkt. No.

13. In support of this argument, they cite the Supreme Court’s discussion

of the terms “citizen” and “resident” in United Bldg. & Constr. Trades

Council v. Camden. See United Bldg., 465 U.S. at 215. The discussion to

which defendants refer is the following:

      The [Privileges and Immunities] Clause is phrased in terms of [S]tate
      citizenship and was designed to place the citizens of each State upon
      the same footing with citizens of other States, so far as the
      advantages resulting from citizenship in those States are
      concerned....We have never read the Clause so literally as to apply it
      only to distinctions based on state citizenship. For example, in
      Mullaney v. Anderson, 342 U.S. 415, 419-420 (1952), the Court held
      that the Alaska Territory had no more freedom to discriminate against
      those not residing in the Territory than did any State to favor its own
      citizens, [a]nd...it is now established that the terms ‘citizen’ and
      ‘resident’ are ‘essentially interchangeable,’ Austin v. New Hampshire,
      420 U.S. 656, 662, n.8 (1975), for purposes of analysis of most cases
      under the Privileges and Immunities Clause.

United Bldg., 465 U.S. at 215-16 (internal quotation marks and citation

omitted).

      Because the P & I Clause was designed to put residents of different

States on equal footing, a person must first be a resident (or a citizen) of a

State before suing under the P & I Clause. Therefore, just as Selevan, a

resident of New York cannot sue New York under the P & I Clause,

defendants argue that Rubin, a Canadian resident, cannot sue under the P

                                      26
Case 1:06-cv-00291-GLS-DRH        Document 26      Filed 01/18/07    Page 27 of 35




& I Clause. Rubin resides in Ontario, Canada, but she is a citizen of the

United States. See Pl. Compl., Dkt. No. 1. Accordingly, Rubin lacks

standing, and her claim based on violations of the P & I Clause is

dismissed.

             c.     Equal Protection Clause Claim

      Plaintiffs’ Equal Protection claim is grounded in the Fourteenth

Amendment. As mentioned, plaintiffs have satisfied the Article III standing

requirements.13 Although neither party discusses plaintiffs’ prudential

standing in specific regard to their Equal Protection Clause claim, the court

will do so sua sponte. As such, the court will now consider whether

plaintiffs’ Equal Protection claim falls within the relevant “zone of interests.”

      “It is well-settled that the Equal Protection clause of both the federal

and New York State constitutions are coextensive.” Town of Southold, 406

F. Supp. 2d at 241. The Fourteenth Amendment of the United States

Constitution prohibits a state from “denying any person within its jurisdiction

the equal protection of the laws.” U.S. CONST. amend. XIV, § 1; see also

City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439 (1985). The

        13
         Courts that have refused to grant Article III standing to Commerce Clause or P & I
 Clause claims have nonetheless entertained Equal Protection Clause claims based on the
 same set of facts. See Town of Southold v. Town of East Hampton, 406 F. Supp. 2d 227, 234-
 238 (E.D.N.Y. 2005).

                                            27
Case 1:06-cv-00291-GLS-DRH            Document 26        Filed 01/18/07      Page 28 of 35




central purpose of the Equal Protection Clause is to prevent states from

purposefully discriminating between individuals based on race or class-

based discriminatory animus. See Shaw v. Reno, 509 U.S. 630, 642 (1993)

(revs’d on other grounds); see also Graham v. Henderson, 89 F.3d 75, 82

(2d Cir. 1996).

      “In order to establish a claim under the Equal Protection Clause, [ ]

plaintiff[s] must show that...[they] w[ere] selectively treated compared with

others similarly situated[.]” Stevenson v. Town of Oyster Bay, 433 F. Supp.

2d 263, 266 (E.D.N.Y. 2006). They must also show that “the selective

treatment was based on impermissible considerations, including”

membership in a suspect class or “the intent to inhibit or punish the

exercise of a constitutional right.”14 Id. Here, plaintiffs complain that the



        14
           “When a state...action is subject to an [E]qual [P]rotection challenge, the level of
 judicial scrutiny varies with the type of classification utilized and the nature of the right
 affected.” Mulroe v. N.Y.S. Thruway Auth., 234 F. Supp. 2d 446, 448 (S.D.N.Y. 2002).

        If the...action involves an issue of social or economic policy and designs a classification
        that neither proceeds along suspect lines nor infringes fundamental constitutional
        rights, the classification must be upheld against equal protection challenge if there is
        any reasonably conceivable state of facts that could provide a rational basis for the
        classification.

 Id. (internal quotation marks and citation omitted). However, “[a] governmental action that
 disadvantages a suspect class or infringes a fundamental right is subject to strict scrutiny, and
 can be upheld only if it is necessary to achieve a compelling governmental purpose[.]” Peel v.
 Crew, 96-CV-7154, 1996 WL 719378, at *14 (S.D.N.Y. Dec. 13, 1996).


                                                28
Case 1:06-cv-00291-GLS-DRH      Document 26   Filed 01/18/07   Page 29 of 35




Grand Island Bridge toll policy discriminates against non-Grand Island

residents in favor of similarly situated Grand Island residents and that this

selective treatment is based on an impermissible intent to inhibit non-

residents’ constitutional right to travel.

      “It is beyond dispute that the Fourteenth Amendment guarantees a

fundamental right to travel.” Town of Southold, 406 F. Supp. 2d at 241; see

also Attorney Gen. of N.Y. v. Soto-Lopez, 476 U.S. 898, 901-903 (1986).

The right to travel encompasses three different components. “It protects

the right of a citizen of one State to enter and to leave another State, the

right to be treated as a welcome visitor rather than an unfriendly alien when

temporarily present in the second State, and, for those travelers who elect

to become permanent residents, the right to be treated like other citizens of

that State.” Saenz v. Roe, 526 U.S. 489, 500 (1999).

      The Supreme Court has explained, “[a] state law implicates the right

to travel when it actually deters such travel,...when impeding travel is its

primary objective,...or when it uses any classification which serves to

penalize the exercise of that right.” Soto-Lopez, 476 U.S. at 903 (internal

quotation marks and citation omitted). Moreover, “State laws that

discriminate against out-of-state residents solely by reason of their place of

                                         29
Case 1:06-cv-00291-GLS-DRH           Document 26        Filed 01/18/07      Page 30 of 35




residency...risk being invalidated...unless there is some compelling reason

for the discrimination.” Stevenson, 433 F. Supp. 2d at 267.

      With these principles in mind, in order to prove that their claim is

within the relevant zone of interests to be protected, plaintiffs must allege

that the Grand Island toll policy (1) actually deters interstate travel by

placing an unlawful burden on their right to enter and/or leave a State, (2)

impedes interstate travel as its primary objective, or (3) uses an

impermissible classification (i.e., race or religion) which penalizes the

exercise of their right to interstate travel.15 Plaintiffs contend that

defendants’ toll scheme violates their constitutional rights because the

“classification” used by the NYTA, i.e., Grand Island residency, places upon

them an unfair burden while exercising their right to travel.

      In Bray v. Alexandria Women’s Health Clinic, abortion clinics and

abortion rights’ organizations applied for a permanent injunction to enjoin

anti-abortion members from obstructing access to facilities providing

abortion services and relating counseling. See Bray v. Alexandria Women’s



        15
          The so-called “penalties” analysis has been questioned by some courts. Defendants
 point out that the penalties discussed in the case law cited by plaintiffs involve direct sanctions
 discriminatorily applied against interstate travelers serving to interfere with otherwise
 recognized fundamental rights. See Minn. Senior Fed’n v. U.S., 273 F.3d 805, 810 (8th Cir.
 2001); Dunn v. Blumstein, 405 U.S. 330, 339-340 (1972).

                                                30
Case 1:06-cv-00291-GLS-DRH       Document 26     Filed 01/18/07   Page 31 of 35




Health Clinic, 506 U.S. 263 (1993). In discussing the right to travel, the

Bray court explained that the right to travel,

         protects interstate travelers against two sets of burdens: the erection
         of actual barriers to interstate movement and being treated differently
         from intrastate travelers....As far as appears from this record, the only
         actual barriers to...movement that would have resulted from
         petitioners’ proposed demonstrations would have been in the
         immediate vicinity of the abortion clinics, restricting movement from
         one portion of the Commonwealth of Virginia to another. Such a
         purely intrastate restriction does not implicate the right of interstate
         travel, even if it is applied intentionally against travelers from other
         States, unless it is applied discriminatorily against them.

Bray, 506 U.S. at 277 (emphasis added) (internal quotation marks and

citation omitted). As such, in order to come within the relevant zone of

interests, plaintiffs must allege some burden on interstate travel greater

than the alleged burden on plaintiffs’ travel to and from Grand Island.

         As stated, plaintiffs fail to allege how their residency status unlawfully

burdens their travel between states. Moreover, plaintiffs have not even

alleged that the questioned portion of Grand Island Bridge serves as an

access route from one State to another. As far as the court can tell, the

questioned portion serves only New York State and treats both New York

non-Grand Island residents and out-of-State non-Grand Island residents

alike.



                                          31
Case 1:06-cv-00291-GLS-DRH     Document 26    Filed 01/18/07   Page 32 of 35




      Plaintiffs’ claim that defendants’ toll policy violates their fundamental

right to travel. However, in order for their Equal Protection claim to fall

within the relevant zone of interests, plaintiffs must assert some

considerable burden on interstate travel. Construing the amended

complaint in the light most favorable to plaintiffs, the allegations do not

satisfy their minimal pleading requirements. Accordingly, plaintiffs do not

satisfy the requirements of prudential standing, and their Equal Protection

claim is dismissed.

      Even if the court were to conclude that plaintiffs had standing to

pursue their Equal Protection claim, it would nonetheless fail on the merits.

As defendants correctly point out, any burden on the right to interstate

travel here is minimal and insufficient to constitute a deprivation. They cite

several cases in support of their contention that “something more than

negligible or minimal impacts on the right to travel is required...” in order to

invalidate a state action allegedly discriminating against the fundamental

right to travel. Kan. v. U.S., 16 F.3d 436, 442 (D.C. Cir. 1994) (holding that

the Wright Amendment, an air traffic regulation restricting air traffic from

Love Field in the Dallas-Forth Worth area, did not violate the right to travel

because any impact on interstate travel - even air travel to and from the

                                       32
Case 1:06-cv-00291-GLS-DRH     Document 26     Filed 01/18/07   Page 33 of 35




Dallas-Fort Worth area - is negligible.); see also Barber v. State of Haw., 42

F.3d 1185, 1197 (9th Cir. 1994) (the alleged impediment must rise to the

level of a “genuinely significant deprivation”); Haw. Boating Ass’n v. Water

Transp. Facilities, 651 F.2d 661 (9th Cir. 1981) (reduced harbor fees to

residents did not implicate constitutional right to travel); Doe v. Moore, 410

F.3d 1337, 1348 (11th Cir. 2005) (“mere burdens on a person’s ability to

travel from state to state are not necessarily a violation of their right to

travel”).

      Here, plaintiffs have not claimed to be members of a suspect class.

Furthermore, they have not alleged a violation of a fundamental right since

“something more than a negligible or minimal impact on the right to travel is

required before strict scrutiny is applied.” Kan., 16 F.3d at 442. As such, if

the court were to review plaintiffs’ Equal Protection claim, it would have to

apply a rational basis standard of review.

      “The first step in determining whether legislation survives rational-

basis scrutiny is identifying a legitimate government purpose which the

enacting government body could have been pursuing.” Mulroe, 234 F.

Supp. 2d at 448. “The actual motivations of the enacting governmental

body are entirely irrelevant....Indeed, the Equal Protection Clause does not

                                        33
Case 1:06-cv-00291-GLS-DRH      Document 26     Filed 01/18/07   Page 34 of 35




even require government decisionmakers to articulate any reason for their

actions,...nor does it require any evidence on the record of a legitimate

purpose.” Id. “The second step of rational-basis scrutiny asks whether a

rational basis exists for the enacting governmental body to believe that the

legislation would further the hypothesized purpose.” Id. “As long as

reasons for the legislative classification may have been considered to be

true, and the relationship between the classification and the goal ‘is not so

attenuated as to render the distinction arbitrary or irrational,’ the legislation

survives rational-basis scrutiny.” Id. (citing Nordlinger v. Hahn, 505 U.S. 1,

11 (1992)).

      A state or subdivision may pass laws to “protect the health, safety,

and welfare of [its] citizens.” Gonzales v. Raich, 545 U.S. 1, 30 n.38 (2005)

(internal quotation marks and citation omitted). Therefore, if there is any

reasonably conceivable state of facts that could provide a rational basis for

believing that the toll policy is rationally related to these goals, it will pass

constitutional muster.

      Here, defendants proffer the following legitimate purpose for their toll

program: “the effort to ameliorate the disparate burden that would befall

geographically bridge-dependent residents of Grand Island and the

                                         34
Case 1:06-cv-00291-GLS-DRH      Document 26     Filed 01/18/07   Page 35 of 35




secondary effects of this drain on the community.” Def. Mem., Dkt. No. 6.

Plaintiffs do not dispute that this purpose is legitimate, and under rational

basis review, the toll policy must be upheld. Accordingly, because they lack

prudential standing to pursue their Equal Protection claim, and in the

alternative, it fails to on the merits, plaintiffs’ Equal Protection claim is

DISMISSED.

      WHEREFORE, for the foregoing reasons, it is hereby

      ORDERED that defendants’ motions to dismiss is GRANTED, and it

is further

      ORDERED that plaintiffs’ amended complaint is DISMISSED IN ITS

ENTIRETY, and it is further

      ORDERED that the Clerk provide a copy of this Decision and Order to

the parties.

IT IS SO ORDERED.

January 18, 2007
Albany, New York




                                         35
